Case 2:23-cv-09910-SB-KS Document 13 Filed 01/19/24 Page 1 of 2 Page ID #:50




 1 SO. CAL. EQUAL ACCESS GROUP
   Jason J. Kim (SBN 190246)
 2 Jason Yoon (SBN 306137)
   Kevin Hong (SBN 299040)
 3 101 S. Western Ave., Second Floor
   Los Angeles, CA 90004
 4 Telephone:  (213) 252-8008
   Facsimile: (213) 252-8009
 5 cm@SoCalEAG.com
 6 Attorney  for Plaintiff,
   MICHAEL RHAMBO
 7
 8                        UNITED STATES DISTRICT COURT

 9                      CENTRAL DISTRICT OF CALIFORNIA

10
11 MICHAEL RHAMBO,                                Case No.: 2:23-cv-09910-SB (KSx)
12
           Plaintiff,                             NOTICE OF SETTLEMENT OF
13                                                ENTIRE CASE
       vs.
14
15 FAKK LLC; LINMONT CENTER,
   LLC; and DOES 1 to 10,
16
17           Defendants.
18
19         Notice is hereby given that Plaintiff MICHAEL RHAMBO ("Plaintiff") and
20 Defendants have settled the above-captioned matter as to the entire case and would
21 like to avoid any additional expense, and further the interests of judicial economy.
22         Parties request that the Court grant thirty (30) days from the date of this filing
23 for Plaintiff to file dispositional documents in order to afford Parties time to
24 complete settlement.
25 //
26 //
27 //
28 //

                                                         NOTICE OF SETTLEMENT OF ENTIRE CASE
Case 2:23-cv-09910-SB-KS Document 13 Filed 01/19/24 Page 2 of 2 Page ID #:51




 1
     DATED: January 19, 2024                SO. CAL EQUAL ACCESS GROUP
 2
 3
 4                                                /s/ Jason J. Kim
                                            JASON J. KIM
 5                                          Attorney for Plaintiff
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                           -2-
                                                  NOTICE OF SETTLEMENT OF ENTIRE CASE
